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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

BOBBY MORRIS, individually and on               )
behalf of all others similarly situated,        )
                                                )
            Plaintiff,                          )
                                                )
      vs.                                       )          Case No. 4:25-cv-00020-MTS
                                                )
ACME ELECTRIC MOTOR, INC.                       )
doing business as ACME TOOLS,                   )
                                                )
            Defendant.                          )

                             MEMORANDUM AND ORDER

       This matter is before the Court on Defendant’s Motion to Stay Pending

Arbitration. Doc. [13]. The Court has thoroughly reviewed Defendant’s Memorandum

in Support of its Motion, Plaintiff’s Response in Opposition, Defendant’s Reply thereto,

and all the exhibits attached to the memoranda.           The Court summarily disposes of

multiple meritless arguments in Plaintiff’s Response in Opposition.             See Doc. [21]

§§ (A)–(B). Indeed, some of Plaintiff’s legal contentions therein disregard—or, at the

very least, come perilously close to disregarding—Federal Rule of Civil Procedure 11(b).

See, e.g., Doc. [21] at 4 (wrongly proclaiming that Defendant’s sweepstakes “is

indisputably an illegal lottery”). 1


1
  Defendant’s Reply details why the sweepstakes was not an illegal lottery. Doc. [22] at 11–15.
Inter alia, individuals could enter it by mail without signing up to receive promotional text
messages. See Mo. Const. art. III § 39; see also James B. Egle, Jeffrey A. Mandell, Sweepstakes
and Contests in the Digital Age, 37 Franchise L.J. 43, 54 (2017) (discussing how alternate
methods of entry—like the “typical” one via mail—may be “utilized to avoid the consideration
element,” including avoiding the possibility of “‘hidden’ consideration” in the form of “benefits
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       Plaintiff’s meritless arguments aside, the Court concludes that Defendant’s Motion

must be denied because a material fact remains in dispute over whether the parties agreed

to arbitrate this matter. “‘[T]he arbitrability of a dispute is a gateway issue’ and ‘the

parties are entitled to have the correct venue—court or arbitration—established at the

outset.’” Ballou v. Asset Mktg. Servs., LLC, 46 F.4th 844, 863 (8th Cir. 2022) (quoting

Duncan v. Int’l Markets Live, Inc., 20 F.4th 400, 404 (8th Cir. 2021) (per curiam)).

“When a motion to compel arbitration relies on matters outside of the pleadings, a district

court must treat the motion as one of summary judgment.” Vargas v. J&J Snack Foods

Corp., 4:22-cv-01187-MTS, 2023 WL 4579325, at *2 (E.D. Mo. July 18, 2023). Plaintiff

has sworn, under penalty of perjury, 2 that he never entered his phone number, nor any

information for that matter, on Defendant’s website. See Doc. [21-1] ¶¶ 7–8, 12–13.

Given that Defendant has no conclusive evidence that Plaintiff himself did so, a jury

could credit Plaintiff’s testimony and find that Plaintiff never entered into the contract

with Defendant containing the arbitration provision at issue. 3 See Teleconnect Co. v.


to the sponsor that are not obvious on their face, but which may meet the definition of
consideration under state law”).
2
  See 28 U.S.C. § 1621 (punishing perjury with a fine and imprisonment of up to five years); cf.
Smith v. Foster, No. 24-1391, 2024 WL 4988362, at *2 (7th Cir. Dec. 5, 2024) (unsigned order)
(noting that “district courts may subject perjurious testimony from any party to sanctions and
refer the matter to the United States Attorney to consider possible criminal prosecution”); Ger-
Nis Int’l, LLC v. FJB, Inc., 1:07-cv-0898-CM, 2008 WL 2704384, at *16 (S.D.N.Y. July 3,
2008) (“All parties should be aware that this court will not hesitate to refer instances of perjury
to the United States Attorneys’ Office for investigation and prosecution.”).
3
  The fact that Plaintiff’s phone number affirmatively opted-in to receive text messages from
Defendant may well doom Plaintiff’s claims on their merits, but Defendant has not pointed the
Court to anything in the record showing that the text message contained the arbitration provision
or formed the basis of accepting the contractual terms.
                                               -2-
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Ensrud, 55 F.3d 357, 359 (8th Cir. 1995) (“Neither the weighing of evidence nor the

assessment of credibility is appropriate at the summary judgment stage.”); Hossaini v. W.

Mo. Med. Ctr., 97 F.3d 1085, 1088 (8th Cir. 1996) (“[T]he court cannot weigh the

evidence or grant summary judgment merely because it believes the nonmoving party

will lose at trial.”).

        Where a district court finds “that material facts remain in dispute as to whether the

parties agreed to arbitrate” the “next step” is to hold a trial. Duncan, 20 F.4th at 403

(citing 9 U.S.C. § 4 (“If the making of the arbitration agreement . . . [is at] issue, the court

shall proceed summarily to the trial thereof.”)). The Court recognizes, though, that the

present Motion was submitted and briefed without either party having the benefit of

discovery. The Court will allow a limited period of discovery to aid the adversarial

process. See Vargas, 2023 WL 4579325, at *3; Margulis v. HomeAdvisor, 4:19-cv-0226-

SRC, 2020 WL 4673783, at *1 (E.D. Mo. Aug. 12, 2020) (granting defendant’s second

motion to compel arbitration after limited discovery removed any genuine dispute of

material fact as to the existence of an arbitration agreement); see also Champ v. Siegel

Trading Co., 55 F.3d 269, 276 (7th Cir. 1995) (noting that “a district court could order

discovery pursuant to Fed. R. Civ. P. 26 on matters relevant to the existence of an

arbitration agreement”); Guidotti v. Legal Helpers Debt Resol., L.L.C., 716 F.3d 764, 775

n.5 (3d Cir. 2013) (noting that “any time the court must make a finding to determine

arbitrability, pre-arbitration discovery may be warranted”). After discovery, Defendant

may refile a motion to compel arbitration if appropriate; if Defendant does not do so, the

Court will set the arbitration issue for a prompt trial. See 9 U.S.C. § 4.
                                             -3-
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         Accordingly,

         IT IS HEREBY ORDERED that Defendant Acme Electric Motor, Inc.’s Motion

to Stay Pending Arbitration, Doc. [13] is DENIED without prejudice.

         IT IS FURTHER ORDERED that the parties shall have ninety (90) days from

the date of this Memorandum and Order to conduct limited discovery pertaining to the

existence of an arbitration agreement. Discovery shall proceed as follows:

         a.    The parties shall make initial disclosures related to the existence of an
               arbitration agreement between Plaintiff and Defendant as required by Fed.
               R. Civ. P. 26(a)(1) no later than Friday, June 13, 2025.

         b.    The limits of five (5) depositions per side, ten (10) interrogatories per side,
               including subparts, ten (10) requests for production per side, and twenty
               (20) requests for admissions per side shall apply absent a showing of good
               cause or consent by both parties. Responses to interrogatories, requests for
               production, and requests for admission shall be due within twenty-one (21)
               days of service.

         c.    All discovery on this limited issue shall be completed by Monday,
               September 08, 2025.

         d.    Before moving for any Order relating to discovery, a movant must first
               communicate in good faith with opposing counsel to resolve the dispute,
               and opposing counsel must promptly respond. If the parties cannot reach
               an accord, a movant must then request an informal conference with the
               Court. 4 Cf. Fed. R. Civ. P. 16(b)(3)(B)(v). The parties must raise any
               discovery disputes with the Court in a diligent and timely manner, and in no
               event shall they be raised later than Thursday, September 11, 2025.

         IT IS FURTHER ORDERED that any renewed motion to compel arbitration

shall be filed no later than Monday, September 15, 2025. Any such motion shall

conform to the requirements of Federal Rule of Civil Procedure 56 and Local Rule 4.01.

Any brief in opposition shall be filed within ten (10) days and shall include a Response to

4
    Parties may email: MOEDml_Schelp_Law_Clerks@moed.uscourts.gov.
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Statement of Material Facts in accordance with Local Rule 4.01(e). Any reply brief shall

be filed within seven (7) days of the filing of any response.

       Dated this 9th day of June 2025.



                                           MATTHEW T. SCHELP
                                           UNITED STATES DISTRICT JUDGE




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